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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

                v.                                     Criminal No. 2:25-cr-38




 DONTE LASHAWN COLE


                              INFORMATION MEMORANDUM

               AND NOW comes the United States of America, by its attorneys, Troy Rivetti,

Acting United States Attorney for the Western District of Pennsylvania, and Robert C.

Schupansky, Assistant United States Attorney for said District, and submits this Information

Memorandum to the Court:

                                    I.    THE INDICTMENT

               A one-count information was filed against the above-named defendant for an

alleged violation of federal law:

 COUNT        OFFENSE/DATE                         TITLE/SECTION

 One          Coercion and Enticement              18 U.S.C. §§ 2422(a) and 2
              In and around May 2023


                           II.      ELEMENTS OF THE OFFENSE

               A.      As to Count One:

               In order for the crime of Coercion and Enticement, in violation of 18 U.S.C.

§§ 2422(a) and 2, to be established, the United States must prove all of the following essential

elements beyond a reasonable doubt:
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                 1.     That the defendant attempted to or did knowingly persuaded, enticed, or

coerced the individual identified at that count to travel in interstate or foreign commerce.

                 2.     That the purpose of that travel was for the individual to engage in

prostitution or any sexual activity for which any person can be charged with a criminal offense.

                 18 U.S.C. §§ 2422(a) and 2.

                                       III.    PENALTIES

                 A.     As to Count One: Coercion and Enticement (18 U.S.C. §§ 2422(a) and

2):

                 1.     A term of imprisonment of not more than twenty (20) years. (18 U.S.C. §

2421(a).

                 2.     A fine not to exceed $250,000.00. (18 U.S.C. § 3571(b)(3)).

                 3.     A term of supervised release of not more than three (3) years. (18 U.S.C.

§ 3583(b)(1)).

                 4.     Any or all of the above.

                        IV.    MANDATORY SPECIAL ASSESSMENT

                 A mandatory special assessment of $100.00 must be imposed at each count upon

which the defendant is convicted, pursuant to 18 U.S.C. § 3013.

                 With respect to Count One, an additional special assessment of $5,000.00 must be

imposed upon conviction as the offense was committed after May 29, 2015, and the offense is

located within Chapter 117 of Title 18, United States Code, pursuant to 18 U.S.C. § 3014(a).




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                                    V.      RESTITUTION

              Restitution may be required in this case as to Count One, together with any

authorized penalty, as part of the defendant’s sentence pursuant to 18 U.S.C. §§ 3663, 3663A,

3664 and 2429.

                                    VI.     FORFEITURE

              As set forth in the Information, forfeiture may be applicable in this case.

                                                    Respectfully submitted,

                                                    TROY RIVETTI
                                                    Acting United States Attorney


                                                    /s/ Robert C. Schupansky
                                                    ROBERT C. SCHUPANSKY
                                                    Assistant United States Attorney
                                                    PA ID No. 82158




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